                           Case 11-21118-RAM          Doc 49   Filed 12/26/12   Page 1 of 16




.2
tems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                 DADE CTY. (MIAMI) DIVISION


        In re:                                           §
                                                         §
        QUINONES, ROBERTO P.                             §      Case No. 11-21118 RAM
        QUINONES, XIOMARA                                §
                                                         §
                            Debtor(s)                    §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                JOEL L. TABAS, TRUSTEE, chapter 7 trustee, submits this Final Account, Certification
        that the Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 148,887.87                             Assets Exempt: 2,875.00
        (Without deducting any secured claims)

        Total Distributions to Claimants: 1,462.36               Claims Discharged
                                                                 Without Payment: 33,812.01

        Total Expenses of Administration: 1,537.64




                3) Total gross receipts of $ 3,000.00 (see Exhibit 1), minus funds paid to the debtor and
        third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 3,000.00 from the liquidation of
        the property of the estate, which was distributed as follows:




   UST Form 101-7-TDR (5/1/2011) (Page: 1)
                             Case 11-21118-RAM         Doc 49    Filed 12/26/12       Page 2 of 16




                                                 CLAIMS            CLAIMS                 CLAIMS                 CLAIMS
                                               SCHEDULED          ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 238,421.07               $ 0.00                 $ 0.00                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                        NA             1,537.64               1,537.64                 1,537.64

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                NA                  NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                 NA                  NA                     NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             35,162.00           19,522.37              19,522.37                 1,462.36

TOTAL DISBURSEMENTS                              $ 273,583.07         $ 21,060.01            $ 21,060.01                $ 3,000.00


                  4) This case was originally filed under chapter 7 on 04/26/2011 . The case was pending
          for 19 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 11/28/2012                       By:/s/JOEL L. TABAS, TRUSTEE
                                                                          Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




     UST Form 101-7-TDR (5/1/2011) (Page: 2)
                                Case 11-21118-RAM           Doc 49       Filed 12/26/12        Page 3 of 16




                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

    Wachovia Free Checking Account No.: 1381                                 1129-000                                   450.00

    2005 Toyota Rav 4 Mileage: 75,000                                        1129-000                                  1,500.00

1999 Toyota Tacoma (Paid in Full) Mileage:
194,050                                                                      1129-000                                  1,000.00

    Tools, Drill, Hammer, etc.                                               1229-000                                    50.00

TOTAL GROSS RECEIPTS                                                                                                 $ 3,000.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                             $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS




        UST Form 101-7-TDR (5/1/2011) (Page: 3)
                             Case 11-21118-RAM            Doc 49     Filed 12/26/12      Page 4 of 16




                                               UNIFORM        CLAIMS
                                                                               CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                              ASSERTED           ALLOWED
                                                CODE      (from Form 6D)

             Esplanade Patio Homes
             H.O.A., Inc. P.O. BOX 83-
             6288 Miami, FL 33283-6288                               80.00                NA                NA             0.00


             Generation Mortgage 3565
             Piedmont Road, NE Suite 3-
             300 Atlanta, GA 30305-1538                         227,878.07                NA                NA             0.00


             Region/Ams P.O. BOX 11007
             Birmingham, AL 35288                                10,463.00                NA                NA             0.00

TOTAL SECURED CLAIMS                                          $ 238,421.07              $ 0.00           $ 0.00           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                           CLAIMS             CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                  CLAIMS PAID
                                                         SCHEDULED           ASSERTED            ALLOWED
                                           CODE

JOEL L. TABAS, TRUSTEE                    2100-000                   NA            750.00               750.00           750.00


JOEL L. TABAS, TRUSTEE                    2200-000                   NA             26.60                26.60            26.60


INTERNATIONAL SURETIES, LTD               2300-000                   NA                 1.00               1.00            1.00


Union Bank                                2600-000                   NA                 2.46               2.46            2.46


Union Bank                                2600-000                   NA                 2.46               2.46            2.46


Union Bank                                2600-000                   NA                 2.46               2.46            2.46


Union Bank                                2600-000                   NA                 2.46               2.46            2.46


Union Bank                                2600-000                   NA                 4.92               4.92            4.92




     UST Form 101-7-TDR (5/1/2011) (Page: 4)
                             Case 11-21118-RAM            Doc 49     Filed 12/26/12      Page 5 of 16




                                          UNIFORM
                                                           CLAIMS            CLAIMS             CLAIMS
              PAYEE                        TRAN.                                                                 CLAIMS PAID
                                                         SCHEDULED          ASSERTED           ALLOWED
                                           CODE

Union Bank                                2600-000                   NA                4.92               4.92             4.92


Union Bank                                2600-000                   NA                4.92               4.92             4.92


Union Bank                                2600-000                   NA                4.92               4.92             4.92


JOEL L. TABAS, ESQ.                       3110-000                   NA              700.00             700.00          700.00


JOEL L. TABAS, ESQ.                       3120-000                   NA               30.52              30.52           30.52

TOTAL CHAPTER 7 ADMIN. FEES                                        $ NA          $ 1,537.64       $ 1,537.64         $ 1,537.64
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                           CLAIMS            CLAIMS             CLAIMS
              PAYEE                        TRAN.                                                                 CLAIMS PAID
                                                         SCHEDULED          ASSERTED           ALLOWED
                                           CODE

NA                                             NA                    NA                 NA                NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                         $ NA               $ NA               $ NA             $ NA
FEES AND CHARGES



             EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                             CLAIMS            CLAIMS
                                               UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                            CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                                6E)             Claim)

NA           NA                                     NA                NA                  NA               NA              NA

TOTAL PRIORITY UNSECURED                                             $ NA               $ NA              $ NA            $ NA
CLAIMS




     UST Form 101-7-TDR (5/1/2011) (Page: 5)
                             Case 11-21118-RAM           Doc 49   Filed 12/26/12       Page 6 of 16




            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                           CLAIMS            CLAIMS
                                               UNIFORM
                                                         SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                          (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                              6F)             Claim)

            Aspire Pob 105555 Atlanta,
            GA 30348                                               0.00                 NA             NA            0.00


            Bank Of America 201 N
            Tryon St Charlotte, NC 28202                           0.00                 NA             NA            0.00


            Bank Of America 275 S
            Valencia Brea, CA 92822                                0.00                 NA             NA            0.00


            Bank Of America 4161
            Piedmont Pkwy Greensboro,
            NC 27410                                               0.00                 NA             NA            0.00


            Bank Of America Po Box
            1598 Norfolk, VA 23501                                 0.00                 NA             NA            0.00


            Bank Of America Po Box
            1598 Norfolk, VA 23501                                 0.00                 NA             NA            0.00


            Bank Of America Po Box
            17054 Wilmington, DE 19850                             0.00                 NA             NA            0.00


            Care Cr/Gemb Po Box 981439
            El Paso, TX 79998                                      0.00                 NA             NA            0.00


            Care Cr/Gemb Po Box 981439
            El Paso, TX 79998                                      0.00                 NA             NA            0.00




     UST Form 101-7-TDR (5/1/2011) (Page: 6)
                             Case 11-21118-RAM           Doc 49   Filed 12/26/12       Page 7 of 16




                                                           CLAIMS            CLAIMS
                                               UNIFORM
                                                         SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                          (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                              6F)             Claim)

            Carico International 2851 W
            Cypress Creek Rd Fort
            Lauderdale, FL 33309                                   0.00                 NA             NA            0.00


            Carmax Auto Finance 2040
            Thalbro St Richmond, VA
            23230                                                  0.00                 NA             NA            0.00


            Chase - Cc P.O. Box 15298
            Wilmington, DE 19850                                   0.00                 NA             NA            0.00


            Chase 800 Brooksedge Blvd
            Westerville, OH 43081                                  0.00                 NA             NA            0.00


            Chase P.O. Box 15298
            Wilmington, DE 19850                                   0.00                 NA             NA            0.00


            Chase Po Box 15298
            Wilmington, DE 19850                                   0.00                 NA             NA            0.00


            Chase Po Box 15298
            Wilmington, DE 19850                                   0.00                 NA             NA            0.00


            Chase/Cc Po Box 15298
            Wilmington, DE 19850                                   0.00                 NA             NA            0.00


            Citi Po Box 6241 Sioux Falls,
            SD 57117                                           3,792.00                 NA             NA            0.00


            Ford Cred Po Box Box
            542000 Omaha, NE 68154                                 0.00                 NA             NA            0.00




     UST Form 101-7-TDR (5/1/2011) (Page: 7)
                             Case 11-21118-RAM           Doc 49    Filed 12/26/12       Page 8 of 16




                                                           CLAIMS             CLAIMS
                                               UNIFORM
                                                         SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                        CLAIMS PAID
                                                          (from Form       (from Proofs of    ALLOWED
                                                CODE
                                                              6F)              Claim)

            Frd Motor Cr Pob 542000
            Omaha, NE 68154                                         0.00                 NA             NA            0.00


            Gemb/Brandsmart Po Box
            981439 El Paso, TX 79998                                0.00                 NA             NA            0.00


            Hsbc Bank Po Box 5253 Carol
            Stream, IL 60197                                      393.00                 NA             NA            0.00


            Hsbc Bank Po Box 5253 Carol
            Stream, IL 60197                                        0.00                 NA             NA            0.00


            Mcydsnb 9111 Duke Blvd
            Mason, OH 45040                                         0.00                 NA             NA            0.00


            Region/Ams Po Box 11007
            Birmingham, AL 35288                                    0.00                 NA             NA            0.00


            Sears/Cbsd Po Box 6189
            Sioux Falls, SD 57117                              9,183.00                  NA             NA            0.00


            Sears/Cbsd Po Box 6189
            Sioux Falls, SD 57117                              1,477.00                  NA             NA            0.00


            Thd/Cbsd Po Box 6497 Sioux
            Falls, SD 57117                                       907.00                 NA             NA            0.00


            Unvl/Citi Po Box 6241 Sioux
            Falls, SD 57117                                         0.00                 NA             NA            0.00


            Visdsnb 9111 Duke Blvd
            Mason, OH 45040                                         0.00                 NA             NA            0.00




     UST Form 101-7-TDR (5/1/2011) (Page: 8)
                             Case 11-21118-RAM            Doc 49    Filed 12/26/12       Page 9 of 16




                                                            CLAIMS             CLAIMS
                                               UNIFORM
                                                          SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                            CLAIMS PAID
                                                           (from Form       (from Proofs of     ALLOWED
                                                CODE
                                                               6F)              Claim)

            Wells Fargo Bank 18700 Nw
            Walker Rd Beaverton, OR
            97006                                                    0.00                 NA              NA               0.00


            Wells Fargo Hm Mortgag
            8480 Stagecoach Cir
            Frederick, MD 21701                                      0.00                 NA              NA               0.00


000001      DISCOVER BANK                      7100-000          8,205.00            8,205.66        8,205.66           614.66


000002      FIA CARD SERVICES, N.A. 7100-000                       779.00              793.68           793.68           59.45


000003      FIA CARD SERVICES, N.A. 7100-000                     5,029.00            5,124.81        5,124.81           383.88


            GE CAPITAL RETAIL
000004      BANK                               7100-000          1,820.00            1,820.53        1,820.53           136.37


            GE CAPITAL RETAIL
000005      BANK                               7100-000          3,577.00            3,577.69        3,577.69           268.00

TOTAL GENERAL UNSECURED                                       $ 35,162.00        $ 19,522.37      $ 19,522.37        $ 1,462.36
CLAIMS




     UST Form 101-7-TDR (5/1/2011) (Page: 9)
                                                              Case 11-21118-RAM               Doc 49  Filed 12/26/12
                                                                                                   FORM 1
                                                                                                                                    Page 10 of 16
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                         ASSET CASES                                                                                                     Exhibit 8
Case No:             11-21118         RAM   Judge: ROBERT A. MARK                                                                  Trustee Name:                     JOEL L. TABAS, TRUSTEE
Case Name:           QUINONES, ROBERTO P.                                                                                         Date Filed (f) or Converted (c):   04/26/11 (f)
                     QUINONES, XIOMARA                                                                                            341(a) Meeting Date:               06/06/11
For Period Ending: 11/28/12                                                                                                       Claims Bar Date:                   11/07/11



                                       1                                         2                           3                         4                         5                                 6
                                                                                                    Estimated Net Value
                                                                             Petition/         (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                               Asset Description                            Unscheduled           Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                   Values                 and Other Costs)          OA=554(a) Abandon             the Estate

 1. Homestead: 18853 NW 77th Court, Hialeah, FL 33015                          147,622.00                              0.00                                                0.00                 FA


 2. Cash on hand                                                                      40.00                            0.00                                                0.00                 FA


 3. Wachovia Free Checking Account No.: 1381                                          22.48                         450.00                                             450.00                   FA
     Order Granting Motion to Approve Stipulation for Compromise and
     Settlement, 08/30/11 (ECF 37)


 4. Wachovia Crown Classic Checking Account No.: 6299                                150.87                            0.00                                                0.00                 FA


 5. Furniture                                                                        875.00                            0.00                                                0.00                 FA


 6. Used clothing & shoes                                                            100.00                            0.00                                                0.00                 FA


 7. 1 Watch 1 Pair of earings 1 thin chain a pair of w                               100.00                            0.00                                                0.00                 FA


 8. 2005 Toyota Rav 4 Mileage: 75,000                                           16,455.00                         1,500.00                                           1,500.00                   FA
     Included in settlement with Asset #3


 9. 1999 Toyota Tacoma (Paid in Full) Mileage: 194,050                           4,675.00                         1,000.00                                           1,000.00                   FA
     Order Granting Motion To Compromise Controversy and Mutual
     General Release Between Trustee and Nicholas Brocherie a/k/a Nicolas
     Brocherie


 10. Tools, Drill, Hammer, etc. (u)                                                  200.00                          50.00                                                50.00                 FA
     Added on Amended Schedule B, 6/2/11 (ECF 15); Order Granting




LFORM1                                                                                                                                                                                                         Ver: 17.00b
         UST Form 101-7-TDR (5/1/2011) (Page: 10)
                                                               Case 11-21118-RAM                       Doc 49  Filed 12/26/12
                                                                                                            FORM 1
                                                                                                                                                 Page 11 of 16
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        2
                                                                                               ASSET CASES                                                                                                              Exhibit 8
Case No:             11-21118       RAM      Judge: ROBERT A. MARK                                                                              Trustee Name:                     JOEL L. TABAS, TRUSTEE
Case Name:           QUINONES, ROBERTO P.                                                                                                      Date Filed (f) or Converted (c):   04/26/11 (f)
                     QUINONES, XIOMARA                                                                                                         341(a) Meeting Date:               06/06/11
                                                                                                                                               Claims Bar Date:                   11/07/11



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     Motion to Approve Stipulation for Compromise and Settlement,
     08/30/11 (ECF 37)

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $170,240.35                          $3,000.00                                           $3,000.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Initial Projected Date of Final Report (TFR): 10/15/12           Current Projected Date of Final Report (TFR): 08/01/12




LFORM1                                                                                                                                                                                                                         Ver: 17.00b
         UST Form 101-7-TDR (5/1/2011) (Page: 11)
                                                             Case 11-21118-RAM            Doc 49          Filed 12/26/12             Page 12 of 16
                                                                                                   FORM 2                                                                                             Page:     1
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:           11-21118 -RAM                                                                                                 Trustee Name:                      JOEL L. TABAS, TRUSTEE
  Case Name:         QUINONES, ROBERTO P.                                                                                          Bank Name:                         Union Bank
                     QUINONES, XIOMARA                                                                                             Account Number / CD #:             *******6896 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2657
  For Period Ending: 11/28/12                                                                                                      Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                 3                                               4                                                  5                       6                   7
    Transaction       Check or                                                                                                            Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                   BALANCE FORWARD                                                                                                                  0.00


          08/02/11                ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                                                      250.00                                      250.00
                                  XIOMARA QUINONES
                          3                                                           Memo Amount:                200.00                 1129-000
                         10                                                           Memo Amount:                50.00                  1229-000


          09/01/11        3       ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                          1129-000                    250.00                                      500.00
                                  XIOMARA QUINONES


          09/27/11        8       ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                          1129-000                    250.00                                      750.00
                                  XIOMARA QUINONES


          11/01/11        8       ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                          1129-000                    250.00                                    1,000.00
                                  XIOMARA QUINONES


          11/29/11        8       ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                          1129-000                    250.00                                    1,250.00
                                  XIOMARA QUINONES


          12/27/11                Union Bank                                       BANK SERVICE FEE                                      2600-000                                           2.46               1,247.54


          01/03/12        8       ROBERTO P. QUINONES                              Per Order, 8/30/11 (D.E. 37)                          1129-000                    250.00                                    1,497.54
                                  XIOMARA QUINONES                                 Order Granting Trustee's Motion to Approve
                                                                                   Stipulation for Compromise and Settlement, 8/30/11
                                                                                   (ECF 37)


          01/17/12     010001     International Sureties, Ltd.                     2012 Chapter 7 Trustee Bond Number                    2300-000                                           1.00               1,496.54
                                  701 Poydras St., Ste. 420                        016027932 ($0.80 per $1,000. on deposit as of
                                  New Orleans, LA 70139                            November 30, 2011), pursuant to Local Rule


                                                                                                                                   Page Subtotals                   1,500.00                  3.46
                                                                                                                                                                                                               Ver: 17.00b
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 12)
                                                          Case 11-21118-RAM              Doc 49           Filed 12/26/12         Page 13 of 16
                                                                                                    FORM 2                                                                                        Page:     2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:           11-21118 -RAM                                                                                             Trustee Name:                      JOEL L. TABAS, TRUSTEE
  Case Name:         QUINONES, ROBERTO P.                                                                                      Bank Name:                         Union Bank
                     QUINONES, XIOMARA                                                                                         Account Number / CD #:             *******6896 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2657
  For Period Ending: 11/28/12                                                                                                  Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                              3                                                   4                                             5                       6                   7
    Transaction       Check or                                                                                                        Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction          Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                  2016-1(A)(k)


          01/25/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                           2.46               1,494.08


          01/27/12        8       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                    250.00                                    1,744.08
                                  XIOMARA QUINONES


          02/27/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                           2.46               1,741.62


          02/29/12        8       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                    250.00                                    1,991.62
                                  XIOMARA QUINONES


          03/26/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                           2.46               1,989.16


          03/27/12        9       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                    250.00                                    2,239.16
                                  XIOMARA QUINONES                                Order Granting Trustee's Motion to Approve
                                                                                  Stipulation for Compromise and Settlement


          04/25/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                           4.92               2,234.24


          05/03/12        9       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                    250.00                                    2,484.24
                                  XIOMARA QUINONES                                Order Granting Trustee's Motion to Approve
                                                                                  Stipulation for Compromise and Settlement


          05/25/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                           4.92               2,479.32


          06/04/12        9       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                    250.00                                    2,729.32
                                  XIOMARA QUINONES                                Order Granting Trustee's Motion to Approve
                                                                                  Stipulation for Compromise and Settlement


                                                                                                                               Page Subtotals                   1,250.00                17.22
                                                                                                                                                                                                           Ver: 17.00b
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 13)
                                                          Case 11-21118-RAM              Doc 49          Filed 12/26/12          Page 14 of 16
                                                                                                   FORM 2                                                                                       Page:     3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:           11-21118 -RAM                                                                                             Trustee Name:                    JOEL L. TABAS, TRUSTEE
  Case Name:         QUINONES, ROBERTO P.                                                                                      Bank Name:                       Union Bank
                     QUINONES, XIOMARA                                                                                         Account Number / CD #:           *******6896 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2657
  For Period Ending: 11/28/12                                                                                                  Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                              3                                                    4                                            5                     6                   7
    Transaction       Check or                                                                                                        Uniform                                                   Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)


          06/25/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                          4.92              2,724.40


          07/05/12        9       ROBERTO P. QUINONES                             Per Order, 8/30/11 (D.E. 37)                       1129-000                   250.00                                   2,974.40
                                  XIOMARA QUINONES                                Order Granting Trustee's Motion to Approve
                                                                                  Stipulation for Compromise and Settlement


          07/25/12                Union Bank                                      BANK SERVICE FEE                                   2600-000                                          4.92              2,969.48


          10/10/12     010002     JOEL L. TABAS, TRUSTEE                          Chapter 7 Compensation/Fees                        2100-000                                        750.00              2,219.48
                                  ONE FLAGLER BUILDING
                                  14 NORTHEAST 1ST AVE., PENTHOUSE
                                  MIAMI, FL 33132


          10/10/12     010003     JOEL L. TABAS, TRUSTEE                          Chapter 7 Expenses                                 2200-000                                         26.60              2,192.88
                                  ONE FLAGLER BUILDING
                                  14 NORTHEAST 1ST AVE., PENTHOUSE
                                  MIAMI, FL 33132


          10/10/12     010004     Joel L. Tabas, Esq.                             Attorney for Trustee Fees                          3110-000                                        700.00              1,492.88
                                  Tabas Freedman Soloff Miller Brown


          10/10/12     010005     Joel L. Tabas, Esq.                             Attorney for Trustee Expenses                      3120-000                                         30.52              1,462.36
                                  Tabas Freedman Soloff Miller Brown


          10/10/12     010006     Discover Bank                                   Claim 000001, Payment 7.490683260%                 7100-000                                        614.66                847.70
                                  Discover Products Inc.
                                  PO Box 3025
                                  New Albany, OH 43054-3025


                                                                                                                               Page Subtotals                   250.00               2,131.62
                                                                                                                                                                                                         Ver: 17.00b
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 14)
                                                             Case 11-21118-RAM              Doc 49        Filed 12/26/12           Page 15 of 16
                                                                                                    FORM 2                                                                                                   Page:      4
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit 9
  Case No:           11-21118 -RAM                                                                                               Trustee Name:                       JOEL L. TABAS, TRUSTEE
  Case Name:         QUINONES, ROBERTO P.                                                                                        Bank Name:                          Union Bank
                     QUINONES, XIOMARA                                                                                           Account Number / CD #:              *******6896 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2657
  For Period Ending: 11/28/12                                                                                                    Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1                2                               3                                                4                                                 5                         6                         7
    Transaction         Check or                                                                                                        Uniform                                                              Account / CD
       Date             Reference                 Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)             Balance ($)


          10/10/12       010007      FIA CARD SERVICES, N.A.                         Claim 000002, Payment 7.490424352%                7100-000                                                59.45                     788.25
                                     PO Box 15102
                                     Wilmington, DE 19886-5102


          10/10/12       010008      FIA CARD SERVICES, N.A.                         Claim 000003, Payment 7.490619164%                7100-000                                               383.88                     404.37
                                     PO Box 15102
                                     Wilmington, DE 19886-5102


          10/10/12       010009      GE Capital Retail Bank                          Claim 000004, Payment 7.490675792%                7100-000                                               136.37                     268.00
                                     c/o Recovery Management Systems Corp
                                     25 SE 2nd Ave Suite 1120
                                     Miami FL 33131-1605


          10/10/12       010010      GE Capital Retail Bank                          Claim 000005, Payment 7.490867012%                7100-000                                               268.00                        0.00
                                     c/o Recovery Management Systems Corp
                                     25 SE 2nd Ave Suite 1120
                                     Miami FL 33131-1605



                                             Memo Allocation Receipts:             250.00                    COLUMN TOTALS                                         3,000.00                  3,000.00                        0.00
                                         Memo Allocation Disbursements:              0.00                        Less: Bank Transfers/CD's                             0.00                      0.00
                                                                                                             Subtotal                                              3,000.00            3,000.00
                                                   Memo Allocation Net:            250.00                        Less: Payments to Debtors                                                 0.00
                                                                                                             Net
                                                                                                                                                                   3,000.00            3,000.00
                                                                                                                                                                                     NET                           ACCOUNT
                     Total Allocation Receipts:                 250.00                                        TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                      BALANCE
               Total Allocation Disbursements:                    0.00                      Checking Account (Non-Interest Earn - ********6896                    3,000.00                   3,000.00                         0.00
                                                                                                                                                     ------------------------   ------------------------   ------------------------
                     Total Memo Allocation Net:                 250.00
                                                                                                                                                                  3,000.00                   3,000.00                         0.00


                                                                                                                                 Page Subtotals                        0.00                    847.70
                                                                                                                                                                                                                       Ver: 17.00b
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 15)
                                                         Case 11-21118-RAM            Doc 49      Filed 12/26/12        Page 16 of 16
                                                                                            FORM 2                                                                                        Page:     5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit 9
  Case No:           11-21118 -RAM                                                                                    Trustee Name:                    JOEL L. TABAS, TRUSTEE
  Case Name:         QUINONES, ROBERTO P.                                                                             Bank Name:                       Union Bank
                     QUINONES, XIOMARA                                                                                Account Number / CD #:           *******6896 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******2657
  For Period Ending: 11/28/12                                                                                         Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


          1               2                             3                                            4                                            5                       6                    7
    Transaction       Check or                                                                                               Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                                                                          ==============           ==============        ==============
                                                                                                                                           (Excludes Account       (Excludes Payments          Total Funds
                                                                                                                                                   Transfers)             To Debtors)            On Hand




                                                                                                                      Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                   Ver: 17.00b
LFORM24
          UST Form 101-7-TDR (5/1/2011) (Page: 16)
